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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK



  UNITED STATES OF AMERICA,

                    -v.-
                                                      No. 1:20-cr-00330 (AJN)

  GHISLAINE MAXWELL,
                                                      NOTICE OF APPEARANCE

                               Defendant.



       PLEASE TAKE NOTICE that the undersigned attorney, David Boies, who is a

member in good standing of the bar of this Court, hereby appears as counsel for

Intervenor Boies Schiller Flexner LLP and the victims it represents in the above-

captioned action.

Dated: New York, New York
       March 26, 2021

                                     BOIES SCHILLER FLEXNER LLP

                                     By:     /s/ David Boies
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                                             and the victims it represents
